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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA
                                  Fifth Division

BIG PICTURE LOANS, LLC

               Plaintiff,                             Civil Case No. 0:19-mc-0000064

v.

LULA WILLIAMS, GLORIA TURNAGE,
GEORGE HENGLE, DOWIN COFFY, and
FELIX GILLISON, JR.,

               Defendants.

______________________________________________

      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
        Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of civil Procedure, the plaintiffs
Big Picture Loans, LLC and/or their counsel, hereby give notice that the above-captioned action
is voluntarily dismissed, without prejudice against the defendants.
Dated this 21ST day of August, 2019.

                                              TRIAL GROUP NORTH

                                              By     /s/ Thomas R. Thibodeau
                                              Thomas R. Thibodeau, # 108960
                                              302 West Superior Street
                                              800 Lonsdale Building
                                              Duluth, MN 55802
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